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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


   IMPLICIT, LLC,
                    Plaintiff,                                Civil Action No. 2:19-cv-40-JRG-RSP
             v.                                               LEAD CASE
   IMPERVA, INC.,
                    Defendant.

   IMPLICIT, LLC,
                    Plaintiff,
             v.                                               Civil Action No. 2:19-cv-37-JRG-RSP
   JUNIPER NETWORKS, INC.,
                    Defendant.

    NOTICE OF REQUEST TO VACATE ORDER DENYING JUNIPER’S MOTION TO
                   TRANSFER VENUE AS MOOT (DKT. 166)

         Defendant Juniper Networks, Inc. respectfully requests that this Honorable Court vacate

  its Order denying Juniper’s Motion to Transfer Venue to the Northern District of California (Dkt.

  18) as moot. On May 2, 2019 Juniper filed an Opposed Motion to Transfer Venue to the Northern

  District of California pursuant to 28 U.S.C. 1401. (Dkt. 18.) Briefing on such motion was complete

  on June 14, 2019, causing the motion to be ripe for decision for nearly six months.

         Upon finding an additional alternative basis for transfer, Juniper filed a Supplemental

  Motion to Transfer Venue to the District of Delaware (Dkt. 164) on December 9, 2019. However,

  this second transfer motion does not moot the first motion. In the event that transfer to the District

  of Delaware based on Implicit’s agreed venue selection clause is not granted as requested in Dkt.

  164,1 Juniper maintains that transfer to the Northern District of California is still warranted for all

  of the reasons stated in its earlier motion (Dkt. 18).


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             Juniper’s Supplemental Motion to Transfer was filed in lead case 2:19-cv-40-JRG-RSP.
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          Wherefore, Juniper respectfully requests that this Court vacate its order denying Juniper’s

  Motion to Transfer Venue to the Northern District of California as moot.



  Date:   December 12, 2019               Respectfully submitted,

                                          IRELL & MANELLA LLP



                                          By: /s/ David McPhie
                                              David McPhie

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

  have consented to electronic service, on this the 12th day of December, 2019.


                                                      /s/ Melissa R. Smith
                                                      Melissa R. Smith




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